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                         IN THE UNTED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
SHAKIRAH ABDULLAH                          :
1734 South Hollywood St.                   :
Philadelphia, PA 19145                     : CIVIL ACTION
                                           :
               Plaintiff,                  : No.:___________________________
                                           :
        v.                                 :
                                           :
FREDERICK DOUGLASS MASTERY                 :
CHARTER SCHOOL                             :
d/b/a Frederick Douglass Elementary School : JURY TRIAL DEMANDED
2118 West Norris Ave.                      :
Philadelphia, PA 19121                     :
                       :                   :
               Defendant.                  :
____________________________________:

                                                  COMPLAINT

         Shakirah Abdullah (hereinafter referred to as “Plaintiff,” unless indicated otherwise) by

and through her undersigned counsel, hereby avers as follows:

                                               INTRODUCTION

         1.       Plaintiff has initiated this action to redress violations by Frederick Douglass

         Mastery Charter School (hereinafter “Defendant”) of the Family and Medical Leave Act

         (“FMLA”- 29 USC § 2601), Title VII of the Civil Rights Act (“Title VII”- 42 U.S.C. 2000e

         et seq.), the Americans with Disabilities Act ("ADA" - 42 USC §§ 12101 et. seq.), and the

         Pennsylvania Human Relations Act (“PHRA”).1 As a direct consequence of Defendant’s

         unlawful actions, Plaintiff seeks damages as set forth herein.




1
  Plaintiff’s claims under the PHRA are referenced herein for notice purposes. Plaintiff dual filed said claims with the
Pennsylvania Human Relations Commission (“PHRC”). Plaintiff intends to amend her complaint to include PHRA
claims once administrative remedies are exhausted.
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                          JURISDICTION AND VENUE

2.      This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States

and seeks redress for violations of federal laws.

3.      This Court may properly assert personal jurisdiction over Defendant because its

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction

over Defendant to comply with traditional notions of fair play and substantial justice,

satisfying the standard set forth by the Supreme Court of the United States in Int’l Shoe

Co. v. Washington, 326 U.S. 310 (1945), and its progeny.

4.      Pursuant to 28 U.S.C. § 1392(b)(1) and (b)(2), venue is properly laid in this district

because Defendant is deemed to reside where it is subjected to personal jurisdiction,

rendering Defendant a resident of the Eastern District of Pennsylvania.

                                       PARTIES

5.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

6.      Plaintiff is an adult individual, with an address set forth in the caption.

7.      Frederick Douglass Master Charter School is a charter school serving grades K-8

in North Philadelphia.

8.      At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of

their employment with and for the Defendant.




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                        ADMINISTRATIVE REMEDIES

9.      The foregoing paragraphs are incorporated herein their entirety as if set forth in full.

10.     Plaintiff has satisfied the procedural and administrative requirements for

proceeding with an action under the ADA and Title VII/PDA.

11.     Plaintiff filed a timely written charge of discrimination with the Equal Employment

Opportunity Commission alleging violations of said statute on or about May 17, 2021.

12.     Plaintiff’s charge was cross-filed with the Pennsylvania Human Relations

Commission.

13.     The instant action is timely because it is initiated within ninety (“90”) days after

the receipt of a Right to Sue letter from the EEOC mailed on or about August 4, 2021.

14.     Plaintiff has exhausted federal administrative remedies as to the allegations of the

instant Complaint.

15.     Once Plaintiff has exhausted administrative remedies under the PHRA pursuant to

43 P.S. § 962(c)(1), she will seek leave to amend this pleading at any time permissible by

Fed.R.Civ.P. 15.

                           FACTUAL BACKGROUND

16.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

17.     Plaintiff was employed by Defendant as a Teacher.

18.     Plaintiff worked for Defendant for approximately 4 years until her unlawful

termination on or about November 17, 2020.

19.     In the 2019/2020 school year, Plaintiff was pregnant and she began maternity leave

before her child was born in May of 2020.




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20.    Following the birth of her child, Plaintiff was diagnosed with Post Partum

Depression (“PPD”).

21.    Plaintiff returned from maternity leave in or about October of 2020.

22.    At all relevant times herein, Plaintiff was supervised by Jillian Bryant (hereinafter

“Bryant”).

23.    Plaintiff was also indirectly reported to the principal of the school.

24.    While on maternity leave, Defendant had hired a new principal, Aisha Gary-Owens

(hereinafter “Gary-Owens”).

25.    Upon Plaintiff’s return from maternity leave, she was subjected to animosity and

hostility from Defendant’s management, including but not limited to Bryant and Gary-

Owens.

26.    By way of example and without limitation, Plaintiff was written up for completely

pretextual reasons, treated in a rude and condescending manner, given wrong information

about her classes (which led her to report to the wrong classes), and was refused training

on Defendant’s new cyber learning curriculum.

27.    When Plaintiff asked for Defendant’s management (including but not limited to

Bryant) to provide her with assistance and/or the same training that other teachers had

(which consisted of 6-7 weeks of training), they refused.

28.    Plaintiff eventually had to go to other teachers to seek information on the new

program.

29.    Additionally, Plaintiff was never updated about different procedures and policies

that had changed while she was on maternity leave, but was then disciplined for allegedly

violating one of those policies.




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30.     When Plaintiff asked for the principal to provide her with a copy of the policy that

she purportedly violated, the principal told her to go look for it herself.

31.     In the weeks leading up to Plaintiff’s termination in or around November of 2020,

Plaintiff informed Defendant’s management that she had been diagnosed with PPD and

that the work environment she was experiencing was exacerbating her condition.

32.     Plaintiff also complained to Defendant’s Human Resources department of the

discriminatory/retaliatory treatment that she was being subjected to since her return from

maternity leave.

33.     Plaintiff was assured that an investigation would be done.

34.     Upon information and belief, no investigation was conducted.

35.     On or about November 17, 2020, Plaintiff was abruptly terminated from her

employment with Defendant via Zoom.

36.     Plaintiff was not given a reason for her termination.

37.     Plaintiff was pretextually terminated because of her pregnancy, disability, and/or

in retaliation for engaging in unquestionably protected activity.

                                   COUNT I
          Violations of the Family and Medical Leave Act (“FMLA”)
                          (Interference & Retaliation)

38.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

39.     Plaintiff was an eligible employee under the definitional terms of the FMLA, 29

U.S.C. § 2611(a)(i)(ii).




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   40.    Plaintiff requested leave for her own medical reasons from Defendant, her

   employer, with whom she had been employed for at least twelve months pursuant to the

   requirements of 29 U.S.C.A. § 2611(2)(i).

   41.    Plaintiff had at least 1,250 hours of service with Defendant and was employed with

   Defendant for one year as of her request for FMLA qualified leave.

   42.    Defendants engaged in interstate commerce and employ[ed] fifty (50) or more

   employees for each working day during each of the twenty (20) or more calendar work

   weeks in the current or proceeding calendar year, pursuant to 29 U.S.C.A. § 2611(4)(A)(i).

   43.    Plaintiff is entitled to receive leave pursuant to 29 U.S.C.A. § 2612(a)(1) for a total

   of twelve (12) work weeks of leave on a block or intermittent basis.

   44.    Defendant committed interference and/or retaliation violations of the FMLA by:

   (1) constructively and/or effectively terminating Plaintiff for requesting and/or exercising

   her FMLA qualified rights; (2) considering Plaintiff’s FMLA qualified leave needs in

   making the decision to constructively and/or effectively terminate her; (3) constructively

   and/or effectively terminating Plaintiff to intimidate her and/or prevent her from taking

   FMLA-qualifying leave in the future; (4) by making negative comments and/or taking

   actions towards her that would dissuade a reasonable person from exercising her rights

   under the FMLA and (5) failing to properly advise Plaintiff of her FMLA rights at the time

   she requested maternity leave.

   45.    These actions as aforesaid constitute violations of the FMLA.

                                      COUNT II
Violations of Title VII Act of the Civil Rights Act/the Pregnancy Discrimination Act
 ([1] Gender/Sex/Pregnancy Discrimination, [2] Retaliation and [3] Hostile Work
                                    Environment)


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                                   -Against Both Defendants-

     46.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

     full.

     47.       Plaintiff properly exhausted her administrative remedies to proceed under Title

     VII/PDA because she timely filed a Charge of Discrimination with the U.S. Equal

     Employment Opportunity Commission (“EEOC”) and the EEOC has issued Plaintiff her

     Notice of Right to Sue.

     48.       Defendant engaged in gender/sex/pregnancy discrimination for the reasons set forth

     herein.

     49.       Defendant also retaliated against Plaintiff for engaging in protected activity.

     50.       Plaintiff further believes and therefore avers that she was subjected a hostile work

     environment and ultimately terminated from her employment because of her

     gender/pregnancy and/or her use of maternity leave and/or her engagement in protected

     activity.

     51.       These aforesaid actions constitute violations of Title VII/PDA.

                                     COUNT III
        Violations of the Americans with Disabilities Act, as Amended (“ADA”)
([1] Actual/Perceived/Record of Disability Discrimination, [2] Retaliation and [3] Hostile
                                 Work Environment)
                              -Against Both Defendants-

     52.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

     full.

     53.       Plaintiff properly exhausted her administrative remedies to proceed under the ADA

     because she timely filed a Charge of Discrimination with the U.S. Equal Employment




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Opportunity Commission (“EEOC”) and the EEOC has issued Plaintiff her Notice of Right

to Sue.

54.       Plaintiff believes and avers that she was terminated from Defendant because of: (1)

her known and/or perceived disabilities; (2) her record of impairment; and/or (3) her

requested accommodations (which constitutes illegal retaliation).


55.       Plaintiff further believes and therefore avers that she was subjected a hostile work

environment and ultimately terminated from her employment because of her known and/or

perceived disabilities; (2) her record of impairment; and/or (3) her engagement in protected

activity.

56.       These actions aforesaid constitute violations of the ADA.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A.        Defendants are to promulgate and adhere to a policy prohibiting discrimination an

retaliation in the future against any employee(s);

B.        Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay

increases, bonuses, insurance, benefits, training, promotions, reinstatement and seniority;

C.        Plaintiff is to be awarded liquidated damages, as permitted by applicable law, in an

amount believed by the Court or trier of fact to be appropriate to punish Defendants for

their willful, deliberate, malicious and outrageous conduct and to deter Defendants or other

employers from engaging in such misconduct in the future;




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      D.     Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

      proper and appropriate (including but not limited to damages for emotional distress, pain,

      suffering and humiliation; and

      E.     Plaintiff is to be awarded the costs and expenses of this action and reasonable

      attorney’s fees as provided by applicable federal and state law.

      F.     Plaintiff demands trial by jury on all issues so triable.

                                                    Respectfully submitted,

                                                    KARPF, KARPF & CERUTTI, P.C.

                                            By:     _____________________________
                                                    Ari R. Karpf, Esq.
                                                    3331 Street Rd.
                                                    Two Greenwood Square, Suite 128
                                                    Bensalem, PA 19020
                                                    (215) 639-0801
Dated: August 23, 2021




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    ULOMLOMON
                            Case 2:21-cv-03747-CMR
                                                UNITEDDocument  1 Filed
                                                      STATES DISTRICT    08/23/21 Page 11 of 12
                                                                      COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Plaintiff: ______________________________________________________________________________________________
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Address of Defendant: ____________________________________________________________________________________________
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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
       ULOPLOMON
DATE: ___ ULOMLOMON ____________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


DATE: ___  ULOMLOMON ____________________
        ULOPLOMON                                             _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
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JS 44 (Rev. 06/17)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                            DEFENDANTS
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    (b) County of Residence of First Listed Plaintiff                  mÜáä~ÇÉäéÜá~                          County of Residence of First Listed Defendant mÜáä~ÇÉäéÜá~
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                   f
                                                                                                         (For Diversity Cases Only)                                            and One Box for Defendant)
❒ 1    U.S. Government               u’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1    Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                            of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2   Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State

                                                                                                    Citizen or Subject of a           ’ 3         ’ 3   Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                     OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                 PERSONAL INJURY           ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158         ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                  ❒ 365 Personal Injury -           of Property 21 USC 881            ’   423 Withdrawal                ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product                Product Liability     ❒ 690 Other                                     28 USC 157                       3729(a))
❒   140 Negotiable Instrument                  Liability                ❒ 367 Health Care/                                                                                   ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &                Pharmaceutical                                                    PROPERTY RIGHTS              ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                        Personal Injury                                               ❒ 820 Copyrights                 ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’              Product Liability                                             ❒ 830 Patent                     ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability                ❒ 368 Asbestos Personal                                             ❒ 835 Patent - Abbreviated       ❒ 460 Deportation
        Student Loans                ’    340 Marine                          Injury Product                                                       New Drug Application      ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                  Liability                                                     ❒ 840 Trademark                         Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                 PERSONAL PROPERTY                       LABOR                         SOCIAL SECURITY               ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle             ❒ 370 Other Fraud           ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)               ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle             ❒ 371 Truth in Lending              Act                             ❒ 862 Black Lung (923)           ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability         ❒ 380 Other Personal        ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                 Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                  Property Damage               Relations                       ❒ 864 SSID Title XVI             ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                    ❒ 385 Property Damage       ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))               ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -               Product Liability      ’ 751 Family and Medical                                                ❒ 893 Environmental Matters
                                              Medical Malpractice                                           Leave Act                                                        ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS         ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                      Act
❒   210 Land Condemnation             ❒   440 Other Civil Rights          Habeas Corpus:            ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff      ❒ 896 Arbitration
❒   220 Foreclosure                   ❒   441 Voting                    ❒ 463 Alien Detainee               Income Security Act                     or Defendant)             ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       u❒   442 Employment                ❒ 510 Motions to Vacate                                             ❒ 871 IRS—Third Party                   Act/Review or Appeal of
❒   240 Torts to Land                 ❒   443 Housing/                        Sentence                                                             26 USC 7609                      Agency Decision
❒   245 Tort Product Liability                Accommodations            ❒ 530 General                                                                                        ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒    445 Amer. w/Disabilities -    ❒ 535 Death Penalty               IMMIGRATION                                                               State Statutes
                                              Employment                  Other:                    ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -    ❒ 540 Mandamus & Other      ❒ 465 Other Immigration
                                              Other                     ❒ 550 Civil Rights                Actions
                                     ❒    448 Education                 ❒ 555 Prison Condition
                                                                        ❒ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                  ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                    Another District           Litigation -                    Litigation -
                                                                                                                            (specify)                      Transfer                        Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      cji^=EOVrp`OSMNFX=qáíäÉ=sff=EQOrp`OMMMFX=^a^=EQOrp`NONMNF
VI. CAUSE OF ACTION Brief description of cause:
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VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION       DEMAND $           CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                               JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                            DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
         ULOPLOMON
         ULOMLOMON
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                              MAG. JUDGE

                  Print                                 Save As...                                                                                                                  Reset
